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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 15-176V
                                      Filed: January 29, 2016
                                        Not for Publication

*************************************
TYLER STEEN,                        *
                                    *
            Petitioner,             *
                                    *                           Damages decision based on
 v.                                 *                           stipulation; motor axonal
                                    *                           neuropathy; influenza (“flu”)
SECRETARY OF HEALTH                 *                           vaccine
AND HUMAN SERVICES,                 *
                                    *
            Respondent.             *
                                    *
*************************************

James H. Cook, Waterloo, IA, for petitioner.
Justine E. Walters, Washington, DC, for respondent.

MILLMAN, Special Master

                              DECISION AWARDING DAMAGES 1

         On January 29, 2016, the parties filed the attached stipulation in which they agreed to
settle this case and described the settlement terms. Petitioner alleges that he suffered from motor
axonal neuropathy that was either caused or significantly aggravated by his receipt of influenza
(“flu”) vaccine on September 17, 2013. He further alleges that he experienced the residual
effects of this injury for more than six months. Respondent denies that the flu vaccine caused
petitioner to suffer motor axonal neuropathy or any other injury and further denies that the flu
vaccine caused petitioner’s current disabilities. Nonetheless, the parties agreed to resolve this
matter informally.

1
 Because this unpublished decision contains a reasoned explanation for the special master’s action in this
case, the special master intends to post this unpublished decision on the United States Court of Federal
Claims’ website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899,
2913 (Dec. 17, 2002). Vaccine Rule 18(b) states that all decisions of the special masters will be made
available to the public unless they contain trade secrets or commercial or financial information that is
privileged and confidential, or medical or similar information whose disclosure would constitute a clearly
unwarranted invasion of privacy. When such a decision is filed, petitioner has 14 days to identify and
move to delete such information prior to the document’s disclosure. If the special master, upon review,
agrees that the identified material fits within the banned categories listed above, the special master shall
delete such material from public access.
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         The undersigned finds the terms of the stipulation to be reasonable. The court hereby
adopts the parties’ said stipulation, attached hereto, and awards compensation in the amount and
on the terms set forth therein. Pursuant to the stipulation, the court awards a lump sum of
$160,000.00, representing compensation for all damages that would be available under 42 U.S.C.
§ 300aa-15(a) (2006). The award shall be in the form of a check for $160,000.00 made payable
to petitioner.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment herewith. 2


IT IS SO ORDERED.


Dated: January 29, 2016                                                            s/ Laura D. Millman
                                                                                    Laura D. Millman
                                                                                     Special Master




2
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party, either separately or
jointly, filing a notice renouncing the right to seek review.
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